Case 4:14-cV-02345 Do_Cument 154 Filed in TXSD on 06/08/18 Page 1 of 1

 

 

 

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS
§
Securities & Exchange Commission §
§ ACTION NUMBER:
§ 4:14-CV-02345
versus §
§ ~H.':.".% m°&‘a-'£:.¢
Andrew |. Farmer § FlLED `
§ JUN 08 2038 '
ABSTRACT oF JUDGMENT W"` °"”"' q""°'.¢°"¢
Date ofJudgment Entered: 18 JUly 2017
Judgment in Favor of: U.S. Securities and Exchange Commission
JudgmentAgainsc: Andrew |. Farmer
Amount ofJudgment: $7,225,719.85
Amount of Costs: $
Rate of Interest: %
Amount of Credits Since Judgment: $
Amount Due:

 

 

 

 

The above and foregoing is a correct Abstract of Judgment entered in the United
States District Court, for the Southern District of Texas, in the above captioned case.

CLE oFC RT
DATED; JUN 0 8 2018 By;

 

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